                Case 2:24-cv-03951-PSG-RAO Document 1-7 Filed 05/10/24 Page 1 of 17 Page ID #:241
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.




                                                  Exhibit G




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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                Case 2:24-cv-03951-PSG-RAO Document 1-7 Filed 05/10/24 Page 2 of 17 Page ID #:242
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.




                             U.S. Patent No. 8,478,903

                                              Sandpiper CDN




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       2
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                         Google CDN
 28. A method, in a content delivery      Google uses and provides content delivery network(s) (“Google CDN”), including Google’s
 system operative in a computer           internal services and services Google offers to third parties that are used to provide content,
 network for delivering content to        such as webpages and/or video streams, over a network. Google CDN includes services such
 client machines, the computer            as Cloud CDN and Media CDN, for example, along with Google’s own use of technologies
 network comprising a plurality of        to provide content in a network.
 origin servers, each of said origin
 servers having resources associated      As one example of Google CDN, Cloud CDN is a content delivery system operative in a
 therewith, and the content delivery      computer network including a plurality of origin servers, where the origin servers have
 system comprising at least one           resources associated therewith, such as resources associated with a Cloud CDN customer.
 shared repeater server operable to       Cloud CDN uses edge caches and replicates resources associated with origin servers in a
 replicate resources associated with      system for delivering content to end users (for example end users of client machines).
 the plurality of origin servers, the
 method comprising:




                                          https://cloud.google.com/cdn?hl=en




                                          https://cloud.google.com/cdn/docs/overview

                                          As another example of Google CDN, Media CDN is a content delivery system operative in a
                                          computer network including a plurality of origin servers, where the origin servers have
                                          resources associated therewith, such as resources associated with Media CDN customers.
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       3
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                   Google CDN
                                          Media CDN uses edge caches and replicates resources associated with origin servers to
                                          deliver content to end users.




                                          https://cloud.google.com/media-cdn/docs/overview

 associating the at least one repeater    Google associates at least one repeater server with an alias name. For example, Google CDN
 server with a first alias name,          includes “edge caches” associated with alias names. On information and belief, Google CDN
 wherein requests for a first resource    directs requests for a first resource on an origin server based at least in part on the alias name.
 located on a first origin server are     Google CDN uses Google’s “edge-caching infrastructure” to serve content to end users,
 directed, based at least in part on      including content requested based on a name associated with a Google CDN customer.
 said first alias name, to the at least
 one repeater server for delivery of
 the first resource from said at least
 one repeater server;




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/media-cdn/docs/overview

                                          Cloud CDN also uses repeater edge servers to cache and serve content from edge locations.




                                          https://developers.google.com/solutions/content-driven/hosting/cdn


PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/cdn

 associating the at least one repeater    Google associates the repeater server with a second alias name, where requests for a second
 server with a second alias name,         resource on a second origin server are directed based on the second alias name, where the
 wherein requests for a second            first and second origin servers are distinct.
 resource located on a second origin
 server are directed, based at least in   For example, Media CDN has distinct origin servers associated with various, multiple
 part on said second alias name, to       customers as distinct HTTP endpoints, such as servers hosted by Cloud Storage.
 the at least one repeater server for
 delivery of the second resource
 from said at least one repeater
 server, wherein the second origin
 server is distinct from the first
 origin server;                           https://cloud.google.com/media-cdn/docs/overview#certificate-support

                                          As another example, Cloud CDN responds to user requests for content from various, multiple
                                          Cloud CDN customers, using cached content that is a copy of content stored on origin servers.
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/cdn/docs/overview




                                          https://cloud.google.com/cdn/pricing#pricing-notes
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN

 providing a table listing origin         Google provides logical tables of origin servers with content. For example, Media CDN lists
 servers having content located           the HTTP endpoints and provides routing to origins.
 thereon, wherein said content is
 authorized for delivery to client
 machines via the at least one shared
 repeater server, and wherein the
 origin servers comprise the first
 origin server and the second origin
 server; and

                                          https://cloud.google.com/media-cdn/docs/origins#origin-requirements




                                          https://cloud.google.com/media-cdn/docs/overview#certificate-support

                                          As another example, Cloud CDN looks up content to respond to an end user.




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       8
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/cdn/docs/overview

 wherein the at least one repeater        As stated above, Google performs advanced routing to origins based on its list of endpoints.
 server is further constructed and
 adapted to analyze, using the table,
 an alias name received with a client
 request for a particular resource to
 determine an origin server
 associated with the particular
 resource.
                                          https://cloud.google.com/media-cdn/docs/overview#certificate-support


PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                          Google CDN
                                          As another example, Cloud CDN uses an alias name associated with a request for a resource
                                          to determine an origin server associated with the resource. Google explains Cloud CDN
                                          uses Google’s global edge network to serve content from Google’s CDN customers’
                                          “websites and applications,” for example.




                                          https://cloud.google.com/cdn/docs/overview

 32. The method as recited in claim       Google provides resources that are HTTP-based resources. For example, as shown below,
 28, wherein the resources comprise       Media CDN provides HTTP-based resources.
 an HTTP-based resource.




                                          https://cloud.google.com/media-cdn/docs/client-connectivity

 37. A method, in a content delivery      Google uses and provides content delivery network(s), including Google’s internal services
 system operative in a computer           and services Google offers to third parties that are used to provide content, such as webpages
 network for delivering content to        and/or video streams, over a network. Google CDN includes services such as Cloud CDN
 client machines and comprising at        and Media CDN, for example, along with Google’s own use of technologies to provide
 least one shared repeater server         content in a network.
 operable to replicate resources
 stored on a plurality of origin          As one example of Google CDN, Cloud CDN is a content delivery system operative in a
 servers, the method comprising:          computer network including a plurality of origin servers, where the origin servers have
                                          resources associated therewith, such as resources associated with a Cloud CDN customer.
                                          Cloud CDN uses edge caches and replicates resources associated with origin servers in a
                                          system for delivering content to end users (for example end users of client machines).
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      10
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/cdn?hl=en




                                          https://cloud.google.com/cdn/docs/overview

                                          As another example of Google CDN, Media CDN is a content delivery system operative in a
                                          computer network including a plurality of origin servers, where the origin servers have
                                          resources associated therewith, such as resources associated with Media CDN customers.
                                          Media CDN uses edge caches and replicates resources associated with origin servers to
                                          deliver content to end users.




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      11
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/media-cdn/docs/overview

 associating a plurality of alias         Google associates alias names with a repeater server. For example, Google CDN includes
 names with the at least one shared       “edge caches” associated with alias names. On information and belief, Google CDN includes
 repeater server, each of said            alias names associated with distinct origin servers. Google CDN uses Google’s “edge-caching
 plurality of alias names being           infrastructure” to serve content to end users, including content requested based on a name
 associated with an origin server,        associated with a Google CDN customer, where each CDN customer has a distinct origin
 wherein a first alias name of said       server associated with its alias name, for example.
 plurality of alias names is
 associated with a first origin server,
 and at least a second alias name of
 said plurality of alias names is
 associated with a second origin
 server distinct from said first origin
 server,



PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      12
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/media-cdn/docs/overview

                                          Cloud CDN also uses repeater edge servers to cache and serve content from edge locations.




                                          https://developers.google.com/solutions/content-driven/hosting/cdn


PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/cdn

 providing at least one table             Google provides logical tables of origin servers with content. For example, Media CDN lists
 associating alias names with origin      the HTTP endpoints and provides routing to origins.
 servers having content located
 thereon, wherein said content is
 authorized for delivery to client
 machines via the at least one shared
 repeater server, wherein the origin
 servers comprise the first origin
 server and the second origin server;

                                          https://cloud.google.com/media-cdn/docs/origins#origin-requirements




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN




                                          https://cloud.google.com/media-cdn/docs/overview#certificate-support

                                          As another example, Cloud CDN looks up content to respond to an end user.




                                          https://cloud.google.com/cdn/docs/overview

PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


                8,478,903                                                         Google CDN
 wherein requests for a first resource    Google includes requests for a resource originating on an origin server to a repeater server
 originating on the first origin server   for delivery of the resource. As stated above, Media CDN performs advanced routing to
 are directed, based at least in part     origins based on its list of endpoints.
 on said first alias name, to the at
 least one shared repeater server for
 delivery of the first resource from
 said at least one repeater server;
 and



                                          https://cloud.google.com/media-cdn/docs/overview#certificate-support

                                          As another example, Cloud CDN uses an alias name associated with a request for a resource
                                          to determine an origin server associated with the resource. Google explains Cloud CDN
                                          uses Google’s global edge network to serve content from Google’s CDN customers’
                                          “websites and applications,” for example.




                                          https://cloud.google.com/cdn/docs/overview

 wherein requests for a second            Google includes requests for a second resource originating on another origin server directed
 resource originating on the second       to the repeater server for delivery of the second resource, when an end user requests content
 origin server are directed, based at     from a second Google CDN customer that is cached on Google’s edge infrastructure, as
 least in part on said second alias       discussed above.
 name, to the at least one shared
 repeater server for delivery of the
 second resource from said at least
 one repeater server; and

PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      16
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


               8,478,903                                                            Google CDN
 wherein the at least one repeater        On information and belief, Google includes a repeater server using the table and alias name
 server uses the at least one table       received with a request to determine an origin server. For example, Google’s CDN includes
 and an alias name received with a        servers in the edge infrastructure that cache content for multiple Google CDN customers and
 client request for a resource to         which use a table to determine an origin server for a CDN customer.
 determine an origin server
 associated with the requested
 resource.




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